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 6                                 UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                           )
                                                          )
 9                           Plaintiff,                   )
                                                          )
10            v.                                          )          2:11-CR-414-PMP-(CWH)
                                                          )
11    JAVIER PICHARDO-LOPEZ,                              )
                                                          )
12                           Defendant.                   )

13

14                              PRELIMINARY ORDER OF FORFEITURE

15            On April 4, 2013, defendant JAVIER PICHARDO-LOPEZ pled guilty to Count One of a

16    Two-Count Criminal Indictment charging him in Count One with Conspiracy to Possess a Controlled

17    Substance with Intent to Distribute in violation of Title 21, United States Code, Sections 841(a)(1) and

18    846. Criminal Indictment, ECF No. 22; Change of Plea Minutes, ECF No. 102; Plea Memorandum,

19    ECF No. 104.

20            This Court finds defendant JAVIER PICHARDO-LOPEZ agreed to the forfeiture of the

21    property set forth in the Forfeiture Allegations of the Criminal Indictment and in the Plea

22    Memorandum. Criminal Indictment, ECF No. 22; Change of Plea Minutes, ECF No. 102; Plea

23    Memorandum, ECF No. 104.

24            This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of

25    America has shown the requisite nexus between property set forth in the Forfeiture Allegations of the

26    Criminal Indictment and agreed to in the Plea Memorandum and the offenses to which defendant
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 1    JAVIER PICHARDO-LOPEZ pled guilty. Criminal Indictment, ECF No. 22; Change of Plea Minutes,
 2    ECF No. 102; Plea Memorandum, ECF No. 104.
 3             The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section
 4    924(d)(1), (2)(C), and (3)(B) and Title 28, United States Code, Section, 2461(c); Title 21, United
 5    States Code, Section 853(a)(1) and (2); Title 21, United States Code, Section 881(a)(11) and Title 28,
 6    United States Code, Section 2461(c):
 7                   1.      a Smith & Wesson model 659, .9 mm semiautomatic pistol bearing serial
 8                           number TBL8273;
 9                   2.      any and all ammunition; and
10                   3.      $640.00 in United States Currency (“property”).
11             This Court finds the United States of America is now entitled to, and should, reduce the
12    aforementioned property to the possession of the United States of America.
13             NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the
14    United States of America should seize the aforementioned property.
15             IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of
16    JAVIER PICHARDO-LOPEZ in the aforementioned property is forfeited and is vested in the United
17    States of America and shall be safely held by the United States of America until further order of the
18    Court.
19             IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America
20    shall publish for at least thirty (30) consecutive days on the official internet government forfeiture
21    website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state
22    the time under the applicable statute when a petition contesting the forfeiture must be filed, and state
23    the name and contact information for the government attorney to be served with the petition, pursuant
24    to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).
25             IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed
26    with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.

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     Case
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 1            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,
 2    shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the
 3    following address at the time of filing:
 4                   Michael A. Humphreys
                     Assistant United States Attorney
 5                   Daniel D. Hollingsworth
                     Assistant United States Attorney
 6                   Lloyd D. George United States Courthouse
                     333 Las Vegas Boulevard South, Suite 5000
 7                   Las Vegas, Nevada 89101
 8            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein
 9    need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency
10    following publication of notice of seizure and intent to administratively forfeit the above-described
11    property.
12                        8th day
              DATED this ______ dayofofApril, 2013.
                                        __________________, 2013.
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15                                                 UNITED STATES DISTRICT JUDGE
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